                                                       May 12, 2022

VIA ECF

The Honorable Ona T. Wang
The Honorable Robert W. Lehrburger
United States District Court for the Southern District of New York
Daniel Patrick Moynihan Courthouse
500 Pearl Street
New York, NY 10007

               Re:     In re Application of Vale S.A. et al., No. 20-mc-199-JGK-OTW
                       Vale S.A. v. BSG Resources Limited, No. 19-cv-3619-VSB-RWL
                       (the “Pending Proceedings”)


Dear Judge Wang and Judge Lehrburger:

       Vale S.A., Vale Holdings B.V., and Vale International S.A. (collectively, “Vale”),
Perfectus Real Estate Corp. (“Perfectus”), and Fine Arts NY LLC (“Fine Arts”), respectfully
submit the following joint letter and stipulation pursuant to Judge Wang’s Orders on April 25,
2022 (ECF No. 143) and April 29, 2022 (ECF No. 144) (the “Orders”).

        Vale has met and conferred with Perfectus and Fine Arts as directed by the Orders and has
reached similar agreements with both to stay any further action regarding the Pending Proceedings
while the parties attempt to reach a mutual agreement that would resolve the issues currently before
the Court. In the interim, Vale shall continue to preserve the documents in its possession, which
will be neither accessed nor destroyed. Vale, Perfectus, and Fine Arts each reserve all rights,
including but not limited to their respective rights with regard to any motion to modify the
protective order, with any motion to quash and/or compel compliance with the subpoenas served
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in Vale S.A. v. BSG Resources Limited, No. 19-cv-3619, and with any motion to recover fees and
costs in both cases, in the event that no final agreement is reached between the parties.



                                               Respectfully submitted,

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